Case 1:18-cv-00558-TH-ZJH Document 27 Filed 09/25/20 Page 1 of 2 PageID #: 73




                           IN THE UNITED STATES DISTRICT COURT

                             FOR THE EASTERN DISTRICT OF TEXAS

                                       BEAUMONT DIVISION

JEREMY WIMBERLY                                    §

VS.                                                §      CIVIL ACTION NO. 1:18-CV-558

UNITED STATES OF AMERICA                           §

                    MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                       JUDGE’S REPORT AND RECOMMENDATION

           Plaintiff Jeremy Wimberly, a prisoner currently confined at the United States Penitentiary

in Terre Haute, Indiana, proceeding pro se, filed this civil action pursuant to Federal Tort Claims

Act.

           The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

The magistrate judge has submitted a Report and Recommendation of United States Magistrate

Judge. The magistrate judge recommends dismissing the action pursuant to Federal Rule of Civil

Procedure 41(b).

           The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such order, along with the record and the pleadings. No

objections to the Report and Recommendation of United States Magistrate Judge were filed by the

parties.
Case 1:18-cv-00558-TH-ZJH Document 27 Filed 09/25/20 Page 2 of 2 PageID #: 74




                                             ORDER

       Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct,

and the report of the magistrate judge (document no. 24) is ADOPTED. A final judgment will be

entered in this case in accordance with the magistrate judge’s recommendation.

       SIGNED this the 25 day of September, 2020.




                                     ____________________________
                                     Thad Heartfield
                                     United States District Judge




                                                2
